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    UNITED STATES DISTRICT COURT
    WESTERN DISTRICT OF NEW YORK


    NICHOLAS KOLLIAS,
                                                                 REPLY DECLARATION
                                Plaintiff,
                                                                  Case No.: 6:18-cv-06566
         vs.
                                                                          (FPG)
    UNIVERSITY OF ROCHESTER,

                                Defendant.




        Thomas E. Reidy, pursuant to 28 U.S.C. § 1746, declares under penalties of perjury that

the foregoing is true and correct:

        1.     I am an attorney duly admitted to practice before this Court and am a member of

the law firm Ward Greenberg Heller & Reidy LLP, attorneys for defendant University of Rochester

(the “University”) in this matter. I submit this Reply Declaration in further support of the

University’s Rule 56 Motion for Summary Judgment, seeking judgment for the University and

dismissal of the action. This Reply Declaration sets forth the further evidence on which the

University’s Rule 56 Motion is based, including excerpts of sworn testimony1.

        2.     Attached as Exhibit 37 are relevant excerpts from the deposition transcript of

Lawrence Zacarese, Plaintiff’s expert witness, held on May 13, 2022.

        3.     Attached as Exhibit 38 are relevant excerpts from the deposition transcript of Ani

Okeke Ewo, held on August 19, 2021.




1
  In conjunction with the Court’s Local Rules, the University has submitted pertinent excerpts of
transcripts but will supply full transcripts upon the Court’s request.
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       4.     Attached as Exhibit 39 are relevant excerpts from the deposition transcript of

Nicholas Kollias, held on August 28, 2019.

       5.     Attached as Exhibit 40 are relevant excerpts from the deposition transcript of Mark

Fischer, held on February 15, 2021.

       6.     Attached as Exhibit 41 are relevant excerpts from the deposition transcript of Dana

Perrin, held on May 11, 2021.

       7.     Attached as Exhibit 42 are relevant excerpts from the deposition transcript of

Antonio Gigliotti, held on November 6, 2019.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on: June 22, 2023
              Rochester, New York
                                                                     s/Thomas E. Reidy
                                                                      Thomas E. Reidy




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